Case 3:19-cv-09452-MAS-TJB Document 20 Filed 08/25/20 Page 1 of 1 PageID: 124

 DNJ-Civ-017 (09/2016)




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   CODY CONROY, et al.,
                                                      Civil Action No. 19-9452 (MAS)
                         Plaintiffs,

                         v.
                                                          ORDER OF DISMISSAL
   LACEY TOWNSHIP SCHOOL
   DISTRICT, et al.,

                         Defendants.


         This matter having been reported settled and the Court having administratively terminated

the action for sixty (60) days so that the parties could submit the papers necessary to terminate the

case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ. R. 41.1, and the sixty-day time period having

passed without the Court having received the necessary papers;

         IT IS on this 25th day of August, 2020

         ORDERED that the Clerk of the Court shall reopen the case and make a new and separate

docket entry reading “CIVIL CASE REOPENED”; and it is further

         ORDERED that this matter be, and the same hereby is, DISMISSED WITH

PREJUDICE, and without costs pursuant to Fed. R. Civ. P. 41(a)(2).




                                                              s/ Michael A. Shipp
                                                              MICHAEL A. SHIPP
                                                              UNITED STATES DISTRICT JUDGE
